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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS



UNITED STATES OF AMERICA

V.                                                                  4:04CR00249-10 JMM

JAVLIN M. THOMPSON



                                   AMENDED JUDGMENT

       The Motion to Amend Restitution (Docket # 438) is GRANTED. The Judgment entered

on February 21, 2007 is amended as stated in the Motion with respect to Accounts 10 and 29.

The Judgment shall reflect a total restitution amount of $43,147.39. This amount shall remain

joint and several with the defendants listed in the original Judgment.

       IT IS SO ORDERED this 11th day of August, 2008.



                                                             ______________________________
                                                             James M. Moody
                                                             United States District Judge
